United States District Court
Northern District of Califomia

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 3:14-cr-00534-CRB Document 421 Filed 06/25/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No. 14-cr-00534-CRB
Plaintiff,
v. SSDRE§€TE§EYH§N%§HW°
ABRAHAM FARAG,
Defendant.

 

 

 

 

Defendant Abraham Farag moves under Federal Rule of Criminal Procedure 35(a)
to correct his sentence. Mot. (dl<t. 420). That rule provides that “Within 14 days after
sentencing, the court may correct a sentence that resulted from arithmetical, technical, or
other clear error.” Fed. R. Cn`m. P. 35(a). Farag asselts that his sentence “appears to
reflect an unintended disparity between Abraham and similarly situated defendants
resulting from the sequence by which the Court sentenced these defendants.” Mot. at 1.
But Rule 35(a) “clearly is intended to allow a district court to modify a sentence only in
very limited instances and n_ot merely to ‘reconsider’ sentencing issues.” United States v.
M, 214 F.3d 1122, 1126 (9th Cir. 2000). A court may not reopen sentencing simply
because it has “change[d] its mind,” L, or because there is a disagreement over “the
court’s discretionary application of the guidelines to the facts of the offense,” United States
v. Wisch 275 F.3d 620, 625 (7th Cir. 2001). Accordingly, the Court lacks the legal

 

authority to grant the motion, and the motion is DENIED.

IT IS SO ORDERED.

Dated: June 25, 2018 ‘ ;i v
CHARLES R. BREYER
United States District Judge

 

